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     6                                      UNITED STATES DISTRICT COURT                                                  I
     7                                               DISTRICT OF NEVADA                                                   1
     8 LJNITED STATESOFAM ERICA,                                  )
                                                                  )
     9!                               Plaintiff,                  )                                                       l
                                                                  )
    10i!
       t        v.
    1l' R A YM UN D O RO D RIGU EZ
                                                                  )         2:10-CR-248-JCM(GWF)                          I
                                                                                                                          I
                                              -
                                                  JIM ENEZ,       )
    l2                                                            )
                                      Defendant.                  )                                                       i
    13                                   PR ELIM INA R Y O RD ER O F FO R FEITUR E                                        I
         :
    14                  This Court finds that on February 14, 2011,defendant RAYM LW DO RODRIGUEZ- '
                                                                                                                          I
    15..JIMEINEZ pled guilty to CountOne ofa Five-countCriminallndictmentcharging him with !
    16           Conspiracyto DistributeaControlledSubstanceinviolationofTitle21, United StatesCode,Sections I
    17I!                                                                                                                  I
         .       841(a)(1)and(b)(1)(A)(viii)and846.                                                                       '
    18                  ThisCourtfindsdefendantRA YM UN D O RO DRIG UEZ-JIM EN EZ agreed to theforfeiture
                                                                                                                          j
    19         ofprtlpelly setforth in Forfeiture A llegations ofthe Crim inallndictm ent.                                '



    20 '                This Courtfinds,                                                                                  I
                                           pursuantto Fed.R.Crim.P.32.2(b)(1)and(2),theUnited Statesof '
                                                                                                       1
    21 AmericahasshowntherequisitenexusbetweenpropertysetforthintheForfeitureAllegationsofthe $
                                                                                              I
    22 Crim inallndictmentandtheoffensetowhichdefendantRAYM UNDO RODRIGUEZ JIM EN EZPIeII l          -



    23 guilty .
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       1
      1          ThefollowingassetsaresubjecttoforfeiturepursuanttoTitle18,UnitedStatesCode,Section I
     2.1 924(d)(l),(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section2461(c);Title21, United
     3,.
       : StatesCode,Section853(a)(1),(a)(2),and(p);andTitle21,UnitedStatesCode,Section88l(a)(11)
     4 : and-1itle28,United StatesCode,Section2461(c):
         '
             :
     5                          (a)     a StarFirestar45,.45 calibersemiautomatic handgun wilh serialnumber
     6                                  2059799;

     7                          (b)     anyandallammunition'
                                                           ,and
     8'                                     '       llGm cri '           '           '                FIU.I.90 1n Ui,,
                                                                                                     ,.              ':    .
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     6)                                                   $'        ''                                                     !

                      (
                      12)ThisCourtt
                                  indstheUnitedStatesofAmericaisnowentitledto,andshould,reducethe '
    11 aforem entioned property to the possession ofthe U nited StatesofA m erica.
    12!!                 NOW THEREFORE,ITISHEREBYORDERED, A DJU DG ED ,AN D DEICREED thatthe
    13 United StatesofAm ericashould seizetheaforem entioned propeo .                                                      '
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                                                                                                                   .
    14                   IT IS FU RTH ER ORD ERED ,AD JU D GED , AN D DECREED a11rigbt,title,and interestof '
                                                                                                                   I
    15           RA Y M U N D O RO D RIG UEZ-JIM EN EZ in the aforem entioned property isforfeited and isvested in
    16 the United StatesofAm erica and shallbesafely held by theUnited StatesofAm erica untilfurther I
    17 orderofthe Court.                                                                                                   '
    18                   IT IS FU RTH ER O RD ERED , ADJUDGED,AND DECREED theUnited StatesofAmerica

    19.'. shallpublish foratleastthirty (30)consecutivedaysontheofficialinternetgovel-nmentforfeiture                      '
                                                                                                                           i
    20           Ns'
                   ebsqte, '
                           wrw w .forfeitttre.cov.notice ofthis Order, w hich shalldescribe the forfeited property,state
                                                                                                                           I
    21 thetilmeundertheapplicablestatutewhen apetition contestingtheforfeiturem ustl)efiled, and state
    22 thenam eand contactinform ation forthe governm entattorney to be served with thepetition, pursuant ;
    23!i t
         oFed.R.Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section853(n)(2).
      j'
    24 !       IT IS FU RTH ER O RD ERED ,A D JU DG ED ,A N D D ECR EED apetition,ifany, m ustbefiled i
    25 w ith the Clerk ofthe Courl,333 LasV egasB oulevard South                                                           i
      i                                                         , LasV egas,N evada 89101                   .              !
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             Case 2:10-cr-00248-JCM-GWF            Document 50      Filed 02/14/11   Page 3 of 3
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   '                 IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition, i
                                                                                                                    )
     '!                                                                             fany, $
                                                                                          I
 21I shallbeservedupontheAssetForfeitureAttorneyoftheUnitedStatesAttorney'sOfficeatthe                              '
     :
 7:followingaddressatthetimeoffiling:
         ,
                                                                                                                    j
     I
     j                                                                                                              p
                                                                                                                    I
 4                          D AN IEL D .HO LLING SW ORTH                                                            t
     '
         .                  A ssistantU nited StatesA ttorney
 5                          M ICHAEL A .HLJM PHREYS                                                                 I
                            A ssistantUnited States Attorney                                                        1
                                                                                                                    .
 6.                         Lloyd D .G eorge U nited States Courthouse                                              .
                                                                                                                    1
  i1'                       333 LasVegasBoulevard South, Suite 5000
    !
 7 :I                       LasV egas, N evada 89101.
 8 .l
    I               IT IS                                                                            1
         !
                            FU RTH ER O RDERED ,ADJU DG ED ,AN D DECREED the notice described herein I
 9 need not be published in the event a D eclaration ofForfeiture is issued by the appropriate aaencv
                                                                                           '
                                                                                           ' ''    '''''   ''       I
10   '
             following publication ofnoticeofseizureand intentto administratively forfeittheabove-described I
                                                                                                                j
1l'i assets.
12
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     .              DATED this P'
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                                          day of                e      ,20l1.                                       !


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